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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                    Case Nos.: 3:08cr22/LAC/EMT
                                                  3:13cv502/LAC/EMT
GARY LAKEY
___________________________________/
                                    ORDER
      This cause comes on for consideration upon the chief magistrate judge’s Report

and Recommendation dated August 31, 2016 (ECF No. 1199). The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). I have made a de novo determination of the objections filed.

      Having considered the Report and Recommendation, and the timely filed

objections thereto, I have determined that the Report and Recommendation should be

adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The chief magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this order.
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          2.        Defendant’s Motion to Vacate, Set Aside or Correct Sentence (ECF No.

1009) is DENIED.

          3.        A certificate of appealability is denied.

          DONE AND ORDERED this 28th day of December, 2016.



                                                    s /L.A. Collier
                                                  LACEY A. COLLIER
                                                  SENIOR UNITED STATES DISTRICT JUDGE




C ase No .: 3 :0 8cr2 2/L AC/E M T ; 3 :1 3cv5 02 /L AC /EM T
